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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA

ABEL CASTILLO, et al.,           )                  3:16-CV-0237-RCJ-CLB
                                 )
           Plaintiffs,           )                  MINUTES OF THE COURT
                                 )
     vs.                         )                  April 10, 2020
                                 )
WESTERN RANGE ASSOCIATION,       )
                                 )
           Defendant.            )
________________________________ )

PRESENT: THE HONORABLE CARLA BALDWIN, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:                 LISA MANN               REPORTER: NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

       The court has reviewed defendant’s emergency motion to stay discovery (ECF No.
199) and plaintiffs’ response thereto (ECF No. 202). For good cause appearing, plaintiff’s
emergency motion to stay discovery (ECF No. 199) is GRANTED. All discovery and
motion briefing is hereby by STAYED for thirty days. The motion hearing set for Tuesday,
April 14, 2020 is VACATED and will be reset at a date and time convenient to the court
and the parties.

       The joint proposed amended scheduling order (ECF No. 201) is GRANTED as
follows:

       Expert Disclosures Exchanged                       November 20, 2020
       Rebuttal-Expert Disclosures Exchanged              December 31, 2020
       Motion for Class Certification to be Filed         January 15, 2021
       Discovery Cut-Off                                  January 29, 2021
       Dispositive Motions to be Filed                    February 26, 2021
       Pretrial Order to be Filed                         June 4, 2021

      The parties shall meet and confer to determine if a resolution can be reached
concerning the video deposition of the plaintiff given the various difficulties surrounding the
COVID-19 pandemic and the immigration issues in this case.

       IT IS SO ORDERED.                            DEBRA K. KEMPI, CLERK

                                          By:                /s/
                                                    Deputy Clerk
